                                  UNITED STATES BANKRUPTCY COURT
                                  WESTERN DISTRICT OF WASHINGTON

 In re:                                                   Case No.

                                                          CHAPTER 13 PLAN
 Darla Taylor
                                                          __Original _X_Amended

                                 Debtor(s).               Date: _September 12, 2011___



 I. Introduction:
 A. Debtor is eligible for a discharge under 11 USC § 1328(f) (check one):
 _x__ Yes
 _____ No
 B. Means Test Result. Debtor is (check one):
 _X__ a below median income debtor
 _____ an above median income debtor with positive monthly disposable income
 _____ an above median income debtor with negative monthly disposable income

 II. Plan Payments:
 No later than 30 days after the filing of the plan or the order for relief, whichever date is earlier, the debtor
 will commence making payments to the Trustee as follows:
      A. AMOUNT: $ _3164.00__
      B. FREQUENCY (check one):
      _X_Monthly
      ___Twice per month
      ___Every two weeks
      ___Weekly
      C. TAX REFUNDS: Debtor (check one): ___COMMITS; _X_DOES NOT COMMIT; all tax refunds
          to funding the plan. Committed refunds shall be paid in addition to the plan payment stated above. If
          no selection is made, tax refunds are committed.
      D. PAYMENTS: Plan payments shall be deducted from the debtor’s wages unless otherwise agreed to
          by the Trustee or ordered by the Court.
      E. OTHER: _________________________________________________________________________

 III. Plan Duration:
 The intended length of the plan is __60___ months, and may be extended up to 60 months after the first
 payment is due if necessary for completion. The plan’s length shall not be less than the debtor’s applicable
 commitment period as defined under 11 U.S.C. §§ 1322(d) and 1325(b)(4).

 IV. Distribution of Plan Payments:
 Upon confirmation, the Trustee shall disburse funds received in the following order and creditors shall apply
 them accordingly, PROVIDED THAT disbursements for domestic support obligations and federal taxes shall
 be applied according to applicable non-bankruptcy law:
     A. ADMINISTRATIVE EXPENSES:
          1. Trustee. The percentage set pursuant to 28 USC §586(e).
          2. Other administrative expenses. As allowed pursuant to 11 USC §§ 507(a)(2) or 707(b).
          3. Attorney's Fees: Pre-confirmation attorney fees and costs shall not exceed $_3500___.
          $_1151__ was paid prior to filing. To the extent pre-confirmation fees and costs exceed $3,500, an
          appropriate application, including a complete breakdown of time and costs, shall be filed with the
          Court within 21 days of confirmation.
          Approved pre-confirmation fees shall be paid as follows (check one):
              a. ____ Prior to all creditors;
              b. ____ Monthly payments of $______;
              c ____ All remaining funds available after designated monthly payments to the following
              creditors:___________________________________________________________________.
              d. ____ Other:_____________________________________________________________.
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         If no selection is made, fees will be paid after monthly payments specified in Sections IV.B and
         IV.C.

     B. CURRENT DOMESTIC SUPPORT OBLIGATION: Payments to creditors whose claims are filed
     and allowed pursuant to 11 USC § 502(a) or court order as follows (if left blank, no payments shall be
     made by the Trustee):

                   Creditor                        Monthly amount
                   _________________               $______
                   _________________               $______

     C.     SECURED CLAIMS: Payments will be made to creditors whose claims are filed and allowed
     pursuant to 11 USC § 502(a) or court order, as stated below. Unless ranked otherwise, payments to
     creditors will be disbursed at the same level. Secured creditors shall retain their liens until the payment
     of the underlying debt, determined under nonbankruptcy law, or discharge under 11 USC § 1328, as
     appropriate. Secured creditors, other than creditors holding long term obligations secured only by a
     security interest in real property that is the debtor’s principal residence, will be paid the principal amount
     of their claim or the value of their collateral, whichever is less, plus per annum uncompounded interest
     on that amount from the petition filing date.

     Interest rate and monthly payment in the plan control unless a creditor timely files an objection to
     confirmation. If a creditor timely files a proof of claim for an interest rate lower than that proposed in the
     plan, the claim shall be paid at the lower rate. Value of collateral stated in the proof of claim controls
     unless otherwise ordered following timely objection to claim. The unsecured portion of any claim shall
     be paid as a nonpriority unsecured claim unless entitled to priority by law.

     Only creditors holding allowed secured claims specified below will receive payment from the
     Trustee. If the interest rate is left blank, the applicable interest rate shall be 12%. If overall plan
     payments are sufficient, the Trustee may increase or decrease post-petition installments for ongoing
     mortgage payments, homeowner’s dues and/or real property tax holding accounts based on changes in
     interest rates, escrow amounts, dues and/or property taxes.

         1. Continuing Payments on Claims Secured Only by Security Interest in Debtor’s Principal
     Residence (Interest included in payments at contract rate, if applicable):

 Rank    Creditor                    Nature of Debt              Property                    Monthly Payment
 _1_     __Ocwen___                  _Deed of Trust____          __Seattle Prop_             $_2087.79___
 ____    __________________          ____________________        __________________          $_____________
 ____    __________________          ____________________        __________________          $_____________

          2. Continuing Payments on Claims Secured by Other Real Property (Per annum interest as set
     forth below):

                                                                                                  Interest
 Rank   Creditor       Nature of Debt              Property                       Monthly Payment Rate
 ____   ________       _________________           _______________              _______           ___%
 ____   ________       _________________           _______________              _______           ___%
 ____   ________       _________________           _______________              _______           ___%
 ____   ________       _________________           _______________              _______           ___%

         3. Cure Payments on Mortgage/Deed of Trust/Property Tax Arrearage (If there is a property tax
 arrearage, also provide for postpetition property tax holding account at Section XII):

        Periodic                                                                    Arrears to be      Interest
 Rank   Payment        Creditor                    Property                         Cured              Rate
 _1_    $_456__        __Ocwen_____                _Seattle Prop___                 $_27330.54_        ___%
 ____   $______        _________________           ____________________             $_______           ___%
 ____   $______        _________________           ____________________             $_______           ___%
 ____   $______        _________________           ____________________             $_______           ___%



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        4. Payments on Claims Secured by Personal Property:

              a. 910 Collateral.
 The Trustee shall pay the contract balance as stated in the allowed proof of claim for a purchase-money
 security interest in any motor vehicle acquired for the personal use of the debtor(s) within 910 days
 preceding the filing date of the petition or in other personal property acquired within one year preceding the
 filing date of the petition as follows. Debtor stipulates that pre-confirmation adequate protection payments
 shall be paid by the Trustee as specified upon the creditor filing a proof of claim. If no amount is specified,
 the Trustee shall pay the amount stated as the “Equal Periodic Payment”.

      Equal                                   Description                  Pre-Confirmation
      Periodic                                of                           Adequate Protection      Interest
 Rank Payment        Creditor                 Collateral                   Payment                  Rate
 ____ $______        ______________           _________________            $_______                 ___%
 ____ $______        ______________           _________________            $_______                 ___%
 ____ $______        ______________           _________________            $_______                 ___%
 ____ $______        ______________           _________________            $_______                 ___%


              b. Non-910 Collateral.
 The Trustee shall pay the value of collateral stated in the proof of claim, unless otherwise ordered following
 timely objection to the claim, for a purchase-money security interest in personal property which is non-910
 collateral. Debtor stipulates that pre-confirmation adequate protection payments shall be paid by the Trustee
 as specified upon the creditor filing a proof of claim. If no amount is specified, the Trustee shall pay the
 amount stated as the “Equal Periodic Payment”.

      Equal                                 Debtor(s)    Description         Pre-Confirmation
      Periodic                              Value of     of                  Adeq. Protection       Interest
 Rank Payment        Creditor               Collateral   Collateral          Payment                Rate
 ____ $______        ______________         $_______     _____________       $_______               ___%
 ____ $______        ______________         $_______     _____________       $_______               ___%
 ____ $______        ______________         $_______     _____________       $_______               ___%
 ____ $______        ______________         $_______     _____________       $_______               ___%

     D. PRIORITY CLAIMS: Payment in full, on a pro rata basis, of filed and allowed claims entitled to
     priority in the order stated in 11 USC § 507(a).

     E. NONPRIORITY UNSECURED CLAIMS: From the balance remaining after the above payments,
     the Trustee shall pay filed and allowed nonpriority unsecured claims as follows:

          1.   Specially Classified Nonpriority Unsecured Claims. The Trustee shall pay the following claims
               prior to other nonpriority unsecured claims as follows:
                                            Amount of          Percentage     Reason for Special
     Rank        Creditor                   Claim              To be Paid     Classification
     ____        _____________              $_________         ________%      __________________
     ____        _____________              $_________         ________%      __________________

          2.   Other Nonpriority Unsecured Claims (check one):
               a. ____ 100% paid to allowed nonpriority unsecured claims. OR
               b. _X_ Debtor shall pay at least $ ___0__ to allowed nonpriority unsecured claims over the
               term of the plan. Debtor estimates that such creditors will receive approximately _____ % of
               their allowed claims.

 V. Secured Property Surrendered:
 The secured property described below will be surrendered to the following named creditors on confirmation.
 Upon confirmation, all creditors to which the debtor is surrendering property pursuant to this section are
 granted relief from the automatic stay to enforce their security interest against the property including taking
 possession and sale.

          Creditor                                                  Property to be Surrendered

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 VI. Executory Contracts and Leases:
 The debtor will assume or reject executory nonresidential contracts or unexpired leases as noted below.
 Assumption will be by separate motion and order, and any cure and/or continuing payments will be paid
 directly by the debtor under Section VII, unless otherwise specified in Section XII with language designating
 that payments will be made by the Trustee, the amount and frequency of the payments, the ranking level for
 such payments with regard to other creditors, the length of the term for continuing payments and the interest
 rate, if any, for cure payments. Any executory contract or unexpired lease not assumed pursuant to 11 USC §
 365(d) is rejected. If rejected, the debtor shall surrender any collateral or leased property and any duly filed
 and allowed unsecured claim for damages shall be paid under Section IV.E.2.

         Contract/Lease                                               Assumed or Rejected


 VII.     Payments to be made by Debtor and not by the Trustee:
 The following claims shall be paid directly by the debtor according to the terms of the contract or support or
 withholding order, and shall receive no payments from the Trustee. (Payment stated shall not bind any party.)

     A. DOMESTIC SUPPORT OBLIGATIONS: The claims of the following creditors owed domestic
     support obligations shall be paid directly by the debtor as follows:

 Creditor                   Current Monthly Support Obligation            Monthly Arrearage Payment
 _____________              $_____________                                $______________
 _____________              $_____________                                $______________
 _____________              $_____________                                $______________

     B. OTHER DIRECT PAYMENTS:

 Creditor                   Nature of Debt                       Amount of Claim             Monthly Payment
 _Watermark Cred Un__       _Second DOT____                      $__65243.11__               $__220___
 _____________              _____________________                $_____________              $______________
 _____________              _____________________                $_____________              $______________

 VIII. Revestment of Property
 Unless otherwise provided in Section XII, during the pendency of the plan all property of the estate as defined
 by 11 USC § 1306(a) shall remain vested in the debtor, except that earnings and income necessary to
 complete the terms of the plan shall remain vested in the Trustee until discharge. The debtor shall not,
 without approval of the Court, sell or otherwise dispose of or transfer real property other than in accordance
 with the terms of the confirmed plan.

 IX. Liquidation Analysis Pursuant to 11 USC § 1325(a)(4)
 The liquidation value of the estate is $_0__. In order to obtain a discharge, the debtor must pay the
 liquidation value or the total of allowed priority and nonpriority unsecured claims, whichever is less. Under
 11 USC §§ 1325(a)(4) and 726(a)(5), interest on allowed unsecured claims under Section IV.D and IV.E shall
 be paid at the rate of ______% per annum from the petition filing date (no interest shall be paid if left blank).

 X. Other Plan Provisions:
    A. No funds shall be paid to nonpriority unsecured creditors until all secured, administrative and
    priority unsecured creditors are paid in full, provided that no claim shall be paid before it is due.
    B. Secured creditors shall not assess any late charges, provided payments from the plan to the secured
    creditor are current, subject to the creditor’s rights under state law if the case is dismissed.
    C. If a secured creditor elects to charge debtor any fee, expense or cost permitted under the contract, the
    creditor shall give written notice to the debtor and debtor’s counsel within 30 days of the assessment.
    D. Mortgage creditors shall notify the Trustee, debtor and debtor’s counsel within 60 days of any
    change in the regular monthly payment (including the escrow account, if applicable).
    E. Provision by secured creditors or their agents or attorneys of any of the notices, statements or other
    information provided in this section shall not be a violation of the 11 USC § 362 automatic stay or of
    privacy laws.




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 XI. Certification:
     A. The debtor certifies that all post-petition Domestic Support Obligations have been paid in full on the
     date of this plan and will be paid in full at the time of the confirmation hearing. Debtor acknowledges
     that timely payment of such post-petition Domestic Support Obligations is a condition of plan
     confirmation pursuant to 11 USC § 1325(a)(8).
     B. By signing this plan, the debtor and counsel representing the debtor certify that this plan does not
     alter the provisions of Local Bankruptcy Form 13-4, except as provided in Section XII below. Any
     revisions to the form plan not set forth in Section XII shall not be effective.

 XII.     Additional Case-Specific Provisions: (must be separately numbered)

 A. The deadline to file an objection to a claim is extended to the later of 270 days after filing or sixty days
 after confirmation of a plan.
 B. The debtor will remove the MJ Takasaki lien by way of an adversary proceeding.



 __/s/ Jason Anderson____               __/s/ Darla Taylor_______2555__________September 12, 2011__
 Attorney for Debtor(s)                 DEBTOR                 Last 4 digits SS#              Date

 _September 12, 2011___                 _____________________________________________________
 Date                                   DEBTOR              Last 4 digits SS#            Date




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